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                   United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                       TEL. 504-310-7700
CLERK                                                            600 S. MAESTRI PLACE,
                                                                         Suite 115
                                                                NEW ORLEANS, LA 70130

                            September 18, 2023

#03260-180
Ms. Priscilla Ann Ellis-Erkkila
FCI Tallahassee
P.O. Box 5000
Tallahassee, FL 32314

      No. 23-50648       Ellis-Erkkila v. Citibank
                         USDC No. 6:20-CV-1039


Dear Ms. Ellis-Erkkila,
We have docketed your appeal with the 5th Circuit number shown
above.   Please use this number in all future contact with the
court. If you have more than one appeal, you will have to comply
with the instructions below for each appeal.   Read this letter
carefully because you have 45 days to make two decisions and to
notify us what you want to do, or we may dismiss your appeal
without further notice:
The Prison Litigation Reform Act, 28 U.S.C. § 1915, generally
requires you to make arrangements to pay the $505.00 filing fees
before this court will consider your appeal.    Knowing that you
must pay for your appeal, the first decision you must make is if
you want to continue with your case.      If you do not want to
continue, you may voluntarily dismiss your appeal now using the
attached Form 1. When we get your Form 1 we will dismiss your
case and you do not have to do anything more.
If you want your case to continue, the second decision you must
make is how you will pay the fees. You may either:
  (1) Make a one time payment of $505.00 to the district court
  clerk; or,
  (2) Apply to the district court for permission to appeal in
  forma pauperis (IFP). If you want this option you should contact
  the district court for specific instructions and any forms they
  have, and should contact your prison authorities for
  instructions how to get a "certified trust fund account
  statement." Also, if your prison requires them, you must sign
  consent forms and authorizations to have money taken from your
  account. You must send these forms to the district court, along
  with your motion to proceed on appeal in forma pauperis, your
  certified trust fund account statement and any other required
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  documents.   If the district court grants you permission to
  appeal IFP, you will have to pay an "initial partial filing fee"
  calculated by the court. You must pay this initial fee from
  your inmate trust fund account. If your account does not have
  enough money to pay the full initial fee, all money in your
  account will be collected and the remainder taken when more
  funds exist. After this initial fee is paid, you still will
  have to pay the rest of the $505.00 fee from your prison trust
  fund account.
If you have not already paid the full filing fee to the district
court, or applied to the district court for permission to appeal
IFP, you should do so immediately.
You have 45 days from the date of this letter to tell us what your
decision is on your case. If you want to dismiss your case, send
us a completed Form 1. If you want to continue your case, send us
a completed Form 2 showing us how you are going to pay for your
appeal. If you are using Form 2, please read it very carefully,
and then mark one of the three boxes on it. You must complete and
return either Form 1 or Form 2 to us within 45 days of the date of
this letter or we may dismiss your appeal without further notice.
ATTENTION ATTORNEYS: Attorneys are required to be a member of the
Fifth Circuit Bar and to register for Electronic Case Filing. The
"Application and Oath for Admission" form can be printed or
downloaded from the Fifth Circuit's website, www.ca5.uscourts.gov.
Information   on   Electronic   Case   Filing   is  available   at
www.ca5.uscourts.gov/cmecf/.
We recommend that you visit the Fifth Circuit's website,
www.ca5.uscourts.gov and review material that will assist you
during the appeal process. We especially call to your attention
the Practitioner's Guide and the 5th Circuit Appeal Flow Chart,
located in the Forms, Fees, and Guides tab.
Special guidance regarding filing certain documents:
General Order No. 2021-1, dated January 15, 2021, requires parties
to file in paper highly sensitive documents (HSD) that would
ordinarily be filed under seal in CM/ECF. This includes documents
likely to be of interest to the intelligence service of a foreign
government and whose use or disclosure by a hostile foreign
government would likely cause significant harm to the United States
or its interests. Before uploading any matter as a sealed filing,
ensure it has not been designated as HSD by a district court and
does not qualify as HSD under General Order No. 2021-1.
A party seeking to designate a document as highly sensitive in the
first instance or to change its designation as HSD must do so by
motion. Parties are required to contact the Clerk’s office for
guidance before filing such motions.
Sealing Documents on Appeal: Our court has a strong presumption
of public access to our court's records, and the court scrutinizes
any request by a party to seal pleadings, record excerpts, or other
documents on our court docket.     Counsel moving to seal matters
must explain in particularity the necessity for sealing in our
court. Counsel do not satisfy this burden by simply stating that
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the originating court sealed the matter, as the circumstances that
justified sealing in the originating court may have changed or may
not apply in an appellate proceeding.     It is the obligation of
counsel to justify a request to file under seal, just as it is
their obligation to notify the court whenever sealing is no longer
necessary.    An unopposed motion to seal does not obviate a
counsel's obligation to justify the motion to seal.


                               Sincerely,
                               LYLE W. CAYCE, Clerk


                               By: _________________________
                               Renee S. McDonough, Deputy Clerk
                               504-310-7673
Enclosure(s)
cc w/encl:
     Ms. Brittney Angelich
     Mr. Daniel Avila II
     Mr. Joshua Benjamin Baker
     Mr. Gene R. Besen
     Mr. James Matthew Dow
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                                 FORM 1


                                _________
                             No. 23-50648
                               _________
                        MOTION TO DISMISS APPEAL

Under the provisions of the 5TH Cir. R. 42.1, I hereby move to
voluntarily dismiss the appeal in this case.

                                         ________________________
                                             (name of appellant)
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                                 FORM 2
          ELECTION OF OPTIONS AND NOTICE TO THE COURT
                                _________
Fifth Circuit Case Number:       23-50648
Fifth Circuit Case Caption:      Ellis-Erkkila v. Citibank
USDC Case Number:      6:20-CV-1039

                                _________
 (To inmate completing this form.          Please place an "x" in the
appropriate box)
[ ]On (date) _____________ , the $505.00 filing fees were paid to
the   district court clerk of the U.S. District Court for the
__________________ District of _________________ . If you have
a copy of a receipt from the district court, please attach it.
[ ]On (date) _____________ , I applied to the United States
District Court for the       __________________   District of
__________________ for permission to appeal in forma pauperis
(IFP). If you have a copy of the motion to the district court,
please attach it.
[ ]On (date) _____________ , the United States District Court for
the         ______________________________         District    of
__________________   granted me permission to proceed on appeal
IFP. If you have a copy of the district court's order, please
attach it.
YOU MUST COMPLETE AND RETURN THIS FORM WITHIN 45 DAYS OF THE DATE
OF THE FORWARDING LETTER OR YOUR APPEAL MAY BE DISMISSED WITHOUT
FURTHER NOTICE.
         (Name)                       _______________________
         (Prisoner Number)            _______________________
         (Address)                    _______________________
                                      _______________________
                                      _______________________
                                      _______________________
                                      _______________________
